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                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                  IN THE UNITED STATES DISTRICT COURT FOR THE                               May 04, 2023
                          SOUTHERN DISTRICT OF TEXAS                                     Nathan Ochsner, Clerk
                               HOUSTON DIVISION

 UNITED STATES OF AMERICA,                         )
                                                   )     Case No. 4:22-2632
            Plaintiff,                             )
                                                   )
            v.                                     )
                                                   )
 JEFFREY M. GARRETT,                               )
 LAKEVIEW LOAN SERVICING, LLC, and                 )
 MARLENE ELIZABETH RAWLS,                          )
                                                   )
            Defendants.                            )
                                                   )

                 ORDER GRANTING MOTION FOR DEFAULT JUDGMENT

       This matter comes before the Court on the United States’ Motion for Default Judgment

against Defendant Jeffrey M. Garrett. ECF No. 20. To date, no response in opposition to the

motion has been filed. The Court, having considered the motion, finds it to have merit.

Accordingly,

       IT IS HEREBY ORDERED that the United States’ Motion for Default Judgment

against Defendant Jeffrey M. Garret is GRANTED.

       IT IS FURTHER ORDERED that judgment is entered in favor of the United States and

against Jeffrey M. Garret for his federal income tax liabilities for tax years 2010 through 2018 in

the total amount of $416,652.29 as of January 13, 2023, plus statutory additions and pre-

judgment and post-judgment interest thereon pursuant to 28 U.S.C. § 1961(c)(1), and 26 U.S.C.

§§ 6601, 6621, and 6622, until paid.

       IT IS FURTHER ORDERED that the United States has valid and subsisting federal tax

liens arising from Jeffrey M. Garrett’s federal tax liabilities described above, which liens attach
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against Jeffrey M. Garrett’s property and rights to property, including, but not limited to, the real

property located at 18646 Mosshill Estates Lane, Cypress, Texas 77429 (“the Subject Property”).

        IT IS FURTHER ORDERED that the United States is entitled to enforce its federal tax

liens relating to Jeffrey M. Garrett’s outstanding federal income tax liabilities for tax years 2010

through 2018 against the Subject Property via judicial sale pursuant to 26 U.S.C. § 7403.

        IT IS FURTHER ORDERED that the Subject Property will be sold free and clear of all

rights, titles, liens, claims, and interest of the parties hereto.

        IT IS FURTHER ORDERED, in accordance with the stipulation between the United

States and Defendant Lakeview Loan Servicing, LLC (ECF Nos. 13, 16), that Lakeview Loan

Servicing, LLC has a lien on the subject property that is superior to the lien interests of the

United States in the subject property.

        IT IS FURTHER ORDERED, in accordance with the stipulation between the United

States and Defendant Marlene Elizabeth Rawls (ECF Nos. 24, 25), that Marlene Elizabeth Rawls

has no interest in the subject property and shall not share in any proceeds of any sale of the

subject property.

        IT IS FURTHER ORDERED that upon submission of any motion for confirmation of

the sale and distribution of sale proceeds from the registry of the Court, Lakeview Loan

Servicing, LLC and the United States will file a declaration containing accurate payoff

information with respect to their respective interests in the subject property, and that on filing

such a motion for confirmation of sale and for disbursement of sale proceeds, the Clerk may

distribute the proceeds of the sale, so far as they are sufficient, by making payment in the

following order of priority: (a) payment to the United States, IRS PALS, or any receiver

appointed for the purpose of selling the property for expenses of sale; (b) payment to Harris

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County for the payment of any outstanding Harris County real property taxes for the Subject

Property; (c) payment to Lakeview Loan Servicing, LLC to be applied toward the outstanding

balance of its lien against the Subject Property; and (d) payment to the United States to be

applied to Jeffrey M. Garrett’s outstanding federal income tax liabilities for tax years 2010

through 2018. Finally, the remaining proceeds, if any, shall be distributed to Jeffrey M. Garrett.

       IT IS FINALLY ORDERED that the United States shall file, within 90 (ninety) days of

entry of this Order, either a motion for order of sale of the Subject Property or a status report

explaining in detail why additional time to conduct such sale is necessary.

                      4th
       Dated this ______________             May
                                 day of ________________, 2023.




                                                      UNITED
                                                       NITED STAT
                                                             STATES
                                                               A ES DISTRICT JUDGE




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